                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION


BURTON A. GELLMAN and    )
THE GELLMAN CORPORATION )
                         )
           Plaintiff     )
                         )
     v                   )                   CIVIL ACTION NO.: 3:04 CV 234-MU
                         )
THE CINCINNATI INSURANCE )
COMPANY                  )
                         )
           Defendant     )
                         )

        Based upon the foregoing motion, for good cause shown, it is ORDERED that the

Scheduling Order is hereby amended as follows:

        1.     Discovery deadline for the taking of experts’ depositions is set for October 24,

2007.

        2.     Dispositive motions deadline is set for September 24, 2007.

        3.     Responses to dispositive motions deadline is set for October 24, 2007.

        5.     This case is removed from the November 5, 2007 trial docket.



                                                Signed: August 28, 2007




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